Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 1 of 34

activities” including a “common communication network by which the Defendant Drug
Manufacturer and the specific PBM share information on a regular basis.” 653. Through
setting the AWP, “[e]ach Defendant Drug Manufacturer has directly controlled the price for its
AWP IDs, which determines the amount of each of the PBMs’ compensation.” 4] 667 (a).
Further, each Defendant “directly controlled the creation and distribution of marketing, sales,
and other materials used to inform each of the PBMs of the profit potential of its AWPIDs,”

4 667(d), and

controlled and participated in the affairs of the Manufacturer-PBM
Enterprises with which they are associated by providing or
receiving rebates (as detailed above) or other inducements to place
a certain Defendant Drug Manufacturer’s AWPIDs on a PBM
formulary or advocate the use of a certain AWPID. These
inducements include drug manufacturers’ payment to PBMs of:

(1) access rebates for placement of products on the PBMs’
formulary; (ii) market share rebates for garnering higher market
share than established targets; (iii) administrative fees for
assembling data to verify market share results; and (iv) other fees
and grants. Although PBMs typically agree to share rebates in
some form with clients, they link the rebates to formulary savings
in such a manner that the PBM often is able to secretly retain all of
the rebates. Furthermore, PBMs refuse to disclose specific rebate
amounts to clients in any fashion other than in the aggregate
compared to performance standards, thereby preventing the client
from learning the true amount of rebates that the PBM has received
in connection with the health plan client. [§ 667(f).]

Finally, and as noted, each PBM, wanting to receive as many secret rebates and other
undisclosed inducements, “took instructions and commands from the manufacturers regarding
the use of AWP .....” 9657.

There can be no doubt that the above allegations of control over both the Manufacturer-
Publisher Enterprises and the Manufacturer-PBM Enterprises are sufficient to demonstrate that
each Defendant plays “some part in directing the enterprise’s affairs.” Reves, 507 U.S. at 179
{emphasis added); Aetna, 43 F.3d at 1559.

Citing only one case, Arrandt y, Steiner Corp., 2001 U.S. Dist. Lexis 11410 (N.D. Il.

Aug. 6, 2001), Defendants claim that “the AMCC alleges nothing more than actions by the

-30-

[534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 2 of 34

manufacturers involving their own affairs” and that, consequently, Plaintiffs have failed to set
forth facts demonstrating that Defendants conducted or participated in the affairs of the
enterprises. Defs. Mem. at 19-20. Unlike here, in 4rrandt, the defendant merely sent an invoice
containing an allegedly fraudulent charge, and this allegation alone was insufficient to properly
plead some involvement in the direction or control of the plaintiff's business. Without more, the
court held that the complaint “alleges only that [defendant] is providing a service for which it
seeks and collects payment and thus is directing only its own, and not the plaintiff enterprise’s,
affairs.” 2001 U.S. Dist. Lexis 11410, at *12.

{In contrast, Defendants here controlled the AWPs published by the Publishers. See
{] 136, 627, 634-36. And this does not mean that each Defendant was merely conducting its
own affairs by doing so. The business of a drug company is to development, manufacture and
sell pharmaceuticals; “conducting the usual affairs” of a drug company does not (or at least
should not) include reporting fraudulent reimbursement AWPs to effectuate profiteering.
Moreover, Defendants have been under no obligation to use these publishing companies, nor
have they been obligated to report fraudulent AWPs to them, but they did so in order to further
their AWP fraud scheme through the RICO enterprise. Without the enterprise and the scheme,
Defendants would not be able to push the spread. § 624; see also § 137 (“A system that bases its
reimbursement rates for drugs on the published AWP is thus dependent on the honesty of the
drug manufacturers. The Defendant Drug Manufacturers knew they could directly control and
fabricate the AWP for their drugs at any time by forwarding to the Publishers a phony AWP.”).
And it is difficult to envision how Defendants could exert greater control over the enterprise
given the Publisher’s admissions that they publish “pricing information . . . supplied and verified
by the products’ manufacturers” without “independent review of those prices for accuracy.”
q 136.

Defendants exercise a similarly large degree of control over their respective

Manufacturer-PBM Enterprises given that, by setting the AWP, cach Defendant determines the

-3] -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 3 of 34

pricing in turn received by the PBMs’ from their own clients. 9] 171-72, 657, 667(a).
Defendants also affect the composition of PBM drug formularies by reporting inflated AWPs for
certain drugs: the “PBMs are motivated to, and do place on their formulary those drugs with
inflated AWPs....” 4.171. This, too, is a stark contrast to the skinny allegations at issue in
Arranat.

Plaintiffs have sufficiently alleged that Defendants controlled and participated in the
respective Manufacturer-Publisher and Manufacturer-PBM Enterprises. These are ample

allegations of control and participation, and the First Circuit requires nothing more.

D. Plaintiffs Have Standing to Sue Defendants for RICO Violations

1. Plaintiffs have adequately alleged direct injury to business or property

To establish standing to sue under RICO, Plaintiffs must allege some direct relationship
between the injury sustained and the alleged racketeering activity (mail and wire fraud). See
Holmes v. Securities Investor Protection Corp., 503 U.S. 258, 268-70 (1992); Camelio v.
American Fed'n, 137 F.3d 666, 669 (Ist Cir. 1998).

Under this analysis, and notwithstanding Defendants’ arguments to the contrary (see
Dets. Mem. at 20-23), the allegations of the AMCC are more than sufficient because Plaintiffs
allege a direct connection between Defendants’ AWP Scheme, their alleged acts of mail and wire
fraud, and the multi-million dollar overpayments made by Plaintiffs and Class members. {{ 644-
46, 677-79. The AMCC alleges that Plaintiffs and Class members are the targets of Defendants’
AWP Scheme. §[3. The sole purpose of Defendants’ pattern of racketeering activity (the alleged
acts of mail and wire fraud) was to “deliberately overstat[e] the AWPs for their AWPIDs,
thereby creating a ‘spread’ based on the inflated figure in order to induce others to advocate and
favor that Defendant Drug Manufacturer’s AWPIDs” and “to ensure that Plaintiffs and members
of the Class would be over-billed for the drugs.” Ff 638-39; see also 1 671-72. Further, the

AMCC alleges that, even though Plaintiffs and the class members are making reimbursements to

-32-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 4 of 34

third parties for the drugs purchased, those reimbursements are made based upon the AWPs set
directly by Defendants:

Plaintiffs and other Third-Party Payors also typically make
reimbursement to health care providers for pharmaceuticals based
upon the AWP. Accordingly, Third-Party Payors are directly
damaged by fraudulent AWP pricing schemes for drugs covered by
employee health and benefit plans or by private insurance because
reimbursement is also typically based on the AWP, as in the case of
Medicare and Medicaid reimbursement. [{ 541 (emphasis added).}

These allegations are more than sufficient to allege standing to sue under Section 1964(c}
of RICO and satisfy the causation tests established by the Supreme Court in Ho/mes, 503 U.S. at
268-70. See, e.g., Commercial Cleaning Servs., L.L.C. v. Colin Serv. Sys., Inc., 271 F.3d 374,
384 (2d Cir. 2001) (collecting cases); Mid Ail, Telecom v. Long Distance Servs., 18 F.3d 260,
263 (4th Cir. 1994). Cf Hamm v. Rhone-Poulenc Rorer Pharms., 187 F.3d 941, 952-53 (8th Cir.
1999).

Given the facts and circumstances of this case, the RICO causation analysis offered by
Judge Wolf of this District in Sebago, Inc. v. Beazer East, Inc., 18 F. Supp. 2d 70, 83-85 (D.
Mass. 1998), is particularly applicable. In that case, a building owner and shopping center owner
filed a class action against defendants, a distributor and fiberglass component supplier for the
roof insulation that had been installed on the owners’ roofs. The owners asserted civil RICO
claims, contending that the roof insulation caused the owners’ roofing systems to corrode,
thereby causing injury to their “business or property.” In response to defendants’ motions to
dismiss, the owners contended that they satisfied RICO’s standing requirements because they
alleged that defendants’ misrepresentations and omissions constituted the proximate and factual
cause of their injuries. /d. at 81. Rejecting defendants’ claim that plaintiffs’ RICO claims

should be dismissed because the owners did not allege “reliance” upon the alleged predicate acts

of mail and wire fraud (the alleged misrepresentations concerning the fiberglass insulation

B

It should be noted that Holmes does not require that civil RICO plaintiffs must allege that they were the
“targets” of defendants’ scheme to defraud; however, that is one way to satisfy the standing requirements of Section
1964(c). See BCCI Holdings (Lux.), S.A. v. Khalil, 214 F.3d 168, 174 (D.C. Cir.), cert. denied, 531 U.S. 958 (2000).

-33-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 5 of 34

having been made to the plaintiff owners’ predecessors), id. at 81-83, Judge Wolf found that

each element of RICO causation had been properly alleged:

Allowing [the plaintiff owners] to advance their RICO claims
against these defendants will not create administratively
inconvenient or unmanageable litigation. Nor will these plaintiffs’
claims lead to duplicative recoveries. Finally, recognizing that
these plaintiffs have standing will further RICO’s statutory goal of
encouraging directly injured victims to act as private attorneys
general to vindicate the law. Here, the plaintiffs are owners of
buildings allegedly damaged by latent defects of PFRI. Because of
the latent nature of the damage allegedly caused by PFRI, the
former owner of [plaintiff] Sebago's building cannot reasonably be
described as having been directly injured. Rather, the plaintiffs as
present owners of buildings with alleged structural damage caused
by PFRI’s latent defects can be said to have been “truly injured in
some meaningful sense.” As such, allowing plaintiffs to press their
claims here will further RICO’s statutory goal of encouraging
directly injured victims to act as private attorneys general to
vindicate the law. [/d. at 83 (quoting Holmes, 503 U.S. at 279
(O’Connor, J., concurring)).]

Judge Wolf also found that the plaintiffs had alleged that they were among the “intended
victims” of the defendants’ scheme to defraud. /d. at 83-84. Thus, assuming (as we must) that

defendants “have committed the acts alleged,” id. at 85, the court explained:

[I]t is for a jury apply the law of proximate causation and decide
whether the plaintiffs were in the zone of foreseeable plaintiffs and
whether the defendants’ actions were a substantial factor in
causing the plaintiffs' harm. Peckham v. Continental Cas. Ins. Co.,
895 F.2d 830, 837 (Ist Cir. 1990) (holding that questions of
causation “are normally grist for the jury's mill.”); Swift v. United
States, 866 F.2d 507, 510 (1st Cir.1989) (“Application of the legal
cause standard to the circumstances of a particular case is a
function ordinarily performed by, and peculiarly within the
competence of, the factfinder.”}; W. Prosser & W. Keeton, Prosser
and Keeton on Torts 321 (5th ed. 1984) (“proximate cause is
ordinarily a question of fact for the jury, to be solved by the
exercise of good common sense in the consideration of the
evidence of each particular case.’’’) (citation and footnotes
omitted). Thus, the court cannot properly rule as a matter of law
that plaintiffs were outside the zone of foreseeable plaintiffs or that
the defendants’ actions were not a substantial factor. To the
contrary, accepting the plaintiffs’ allegations as true and drawing
all reasonable inferences from them, it appears that both plaintiffs
were among the intended victims of the alleged fraud. For
purposes of these motions to dismiss, therefore, plaintiffs
adequately plead causation and state a substantive RICO claim.

-34-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 6 of 34

id. (emphasis added). The same principles apply in this case, and the Court should reject

Defendants’ contention that Plaintiffs do not properly allege RICO standing.

2. There are no intervening acts that break Holmes causation

Defendants claim that a number of purported intervening acts “break the causal chain of
plaintiffs’ RICO claims,” Defs. Mem. at 21, citing (4) misrepresentations made to third-party
publishers and not to plaintiffs, (11) the prescribing doctor’s submission of the claims for
reimbursement to Medicare carriers, (iii) Congress’s choice to base reimbursements on AWP,
and (iv) in the case of PBMs, the PBMs, not the defendants, contract with the health plans. Defs.
Mem. at 21-23. None of these events serve to vitiate proximate cause under the test articulated
in Holmes.

The Supreme Court in Ho/mes instructed courts to ask three questions in determining
whether allegations sufficiently plead direct causation: (1) are the damages too difficult to prove;
(i1) will there be any difficulty in apportioning damages; and (111) are other parties in a superior
position “to bring suit for the law’s vindication’? 503 U.S. at 273. Each question is answered in
favor of Plaintiffs here.

First, there will be no difficulty in proving damages because, as alleged, Defendants set
the AWP and therefore the rembursement base directly. This is best illustrated by referencing
an example cited in the AMCC. Paragraph 466 documents a number of instances in which the
DOJ determined that Defendant Pharmacia reported AWPs that were substantially higher than
the actual prices listed by wholesalers. For one of these drugs, Bleomycin Sulfate, the Pharmacia
Group reported to Red Book an AWP of $309.98, when the DOJ determined that the actual AWP
was $158.67 — a spread of $151.31 or 96 percent. A member of the AWP Payor Class who made
a 20 percent co-payment for this drug under, for example, Medicare, would have paid $62 based
on the phony AWP. This class member was damaged in the amount of $30.26, or 20 percent of
the $151.31 spread.

-35-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 7 of 34

A member of the PBM Third-Party Payor Sub-Class would also be damaged in a direct
manner. If this Class member had contracted with a PBM to pay AWP less 13 percent for drugs

(a common contract formula, see § 171), the damage would be $126.64 as follows:

Payment Based Payment Based on
on Phony AWP Accurate AWP
AWP $309.98 $158.67
Less 13% 40.30 20.63
Payment $269.68 $138.04
Difference (damage) $126.64

The simple payment relationships and direct injury set forth in both of the examples
above, indicate that damages are calculable.

In both examples and in all instances either a Part B drug or a non Part B drug, the AWP
is set directly by Defendants and used, exactly as reported by each Defendant, in the calculation
of the payments made by each Class member. The so-called “intervening actors” who were
provided incentives to act as Defendants instructed, merely advanced — and did not break — the
chain of causation that began with Defendants.

Second, there is no issue here of apportioning damages among Plaintiffs and Class
members who have been harmed by the same injury. Plaintiffs allege injury to each of them and
to each Class member: the amount of money that the person or entity paid out of pocket as a
direct consequence of the AWP Scheme. {| 644-46, 677-79. Thus, the direct injuries alleged
here are unlike the indirect injuries at issue in Holmes, where the plaintiffs injuries were derived
from injurtes inflicted first on broker-dealers and then, by virtue of the broker-dealer
liquidations, on plaintiff Securities Investor Protection Corporation who advanced nearly
$13 million to cover investor claims. 503 U.S. at 273.

Turning to the third Holmes inquiry, no other party has been more directly injured for
purposes of vindicating the damages alleged (unlike the broker-dealers in Ho/mes, who the court
found to be superior plaintiffs). In fact, ne one else has suffered the co-pay injury, and no one

else has suffered the payor’s injury; these injuries are direct. Thus, it is not a matter of looking

- 36-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 8 of 34

for “superior” or more directly injured plaintiffs. The plain matter is that, apart from the Plaintiff
end-payors, Defendants have not identified any more directly injured persons because non exist.
Indeed, at least one Defendant — the GSK Group — concedes direct causation. In a Glaxo
internal memo dated October 25, 1994, entitled “Issue considerations on Zofran pricing
strategies,” Nancy Pekarek (a communications manager for Glaxo who later became Vice-
President of U.S. Corporate Media Relations) recognized the direct implications of increasing the

AWP to create a better spread:

{| 395 (quoting (GSK-MDL-Z01-05675) (Highly Confidential) (emphasis added)).

In sum, because Defendants directly set the reimbursement base (the AWP), every
Plaintiff and Class member is directly harmed. It is immaterial that Defendants make the AWP
misrepresentation to third-party publishers and not to Plaintiffs, that the prescribing doctor and

not the patient submits claims for reimbursement, that Congress chose to base reimbursements

24
Defendants claim that the prescribing doctor has the discretion to submit reimbursement invoices for a charge
lower than AWP less than 95%, Defs. Mem. at 22, but this ignores Plaintiffs’ controlling allegations that all
providers base reimbursement on AWP., Furthermore, and although it is premature to resolve this factual issue,
Defendants will be unable to show that providers in practice actually request reimbursement at a Jewer rate than
AWP less 5 percent.

-37-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 9 of 34

on AWP instead of some other formula,” and that PBMs, not the Defendants, contract with the
health plans. None of these events detract from the direct injury inflicted upon Plaintiffs and the
Class by Defendants’ direct AWP reporting. The Court should reject Defendants’

standing/causation challenge.

VIL COUNT IX PROPERLY PLEADS CIVIL CONSPIRACY
A. The AMCC States a Claim for a Concerted Action Civil Conspiracy”

To state a claim for the independent tort of conspiracy, Plaintiffs must allege that two or
more co-conspirators combined to accomplish an unlawful purpose or to accomplish a purpose
not unlawful by unlawful means. Queeno v. Cote, 1999 Mass. Super. Lexis 506, at *8 (Mass.
Sup. Ct. 1999); Baron v. Smyly, 1995 Mass. Super. Lexis 454 (Mass. Sup. Ct. 1995).

Plaintiffs allege that two or more co-conspirators combined to accomplish an unlawful
purpose. Baron, 1995 Mass. Super. Lexis 454, at *9. More specifically, the AMCC alleges a
combination between each Defendant and a PBM for the wrongful purpose of perpetuating a
reimbursement system based on fraudulently-overstated AWPs in order to defraud all] persons
and entities that pay for drugs based on AWP. {] 168-76, 729. Importantly, a conspiracy claim
should be sustained where “the alleged unlawful goal was the defrauding of the plaintiffs.”
Queeno, 1999 Mass. Super. Lexis 506, at *8.

Alternatively, Plaintiffs allege that two or more co-conspirators combined to accomplish
a purpose not unlawful by unlawful means. Baron, 1995 Mass. Super. Lexis 454, at *9. More
specifically, the AMCC alleges that, even if Defendants had a right to increase their prices (a

purpose not unlawful), the combination of the Defendants and PBMs was for the purpose of

as
It bears repeating that Plaintiffs’ claims are not predicated on Congress’s decision to use AWP as the
reimbursement benchmark for Medicare. Rather, the fraud challenged here is Defendants’ choice to game the
system by reporting false and fraudulent AWPs; Defendants’ conduct, not Congress’s, is where the focus belongs.
In any event, Congress’s decision has no relevance to the Class claims involving payments outside of Medicare. To
reiterate, the use of published AWPs to establish reimbursement rates for drugs is an industry-wide practice used
outside of the Medicare context. See, e.g., q 134.
26

Defendants also assert that Plaintiffs fail to allege a coercive conspiracy. Defs. Mem. at 27-28. Plaintiffs
did not plead a coercive conspiracy and thus do not respond to Defendants’ arguments on that point in this
memorandum.

- 38 -

1534.16 0026 MTN. DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 10 of 34

accomplishing reimbursement inflation through unlawful means, namely hiding the artificial
inflation behind the phrase “average wholesale price.” J 168-76, 729.

Under either scenario, Plaintiffs allege sufficient facts to demonstrate the existence of
“first, a common design or an agreement, although not necessarily express, between two or more
persons to do a wrongful act and, second, proof of some tortious act in furtherance of the
agreement.” Defonseca v. Sandler, 2002 Mass. Super. Lexis 250, at *9-10 (Mass. Sup. Ct.
2002).

Here, the common design or agreement was the agreement to use AWP as the basis for
prescription drug payments when both the Defendants and PBMs knew it was an inflated
number. The tortious act in furtherance of these agreements was to purposefully inflate AWPs to
prices far in excess of the average prices available to providers and to do so without telling the
Class — the persons and entities that were paying for prescription drugs based on AWP.
Specifically, the AMCC describes how, for brand name drugs administered outside the Medicare
Part B context, Defendants specifically marketed the inflated AWP, the price on which
Plaintiffs’ payments are based, to PBMs and other intermediaries in order to induce them to
place those drugs on their formularies. The AMCC also alleges that this scheme encourages
intermediaries to place drugs on formularies based on their desire to increase their profitability
by creating a spread. {ff 168-76.

Defendants rely on Massachusetts Laborers’ Health & Welfare Fund v. Philip Morris,
inc., 62 F. Supp. 2d 236 (D. Mass. 1999), where this Court dismissed a civil conspiracy claim
where the operative complaint “quite clearly allege[d] that the defendants acted jointly pursuant
to a common scheme” but where the complaint failed to allege that “acting in concert,
[defendants] committed a tort, such as misrepresentation.” /d. at 245. But Massachusetts
Laborers helps Plaintiffs, not Defendants. Plaintiffs unequivocally allege a misrepresentation
proftered by Defendants and perpetuated by, inter alia, the PBMs. The AMCC alleges that

Defendants set artificially inflated prices for their drugs, which prices were misrepresented to be

-39-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 11 of 34

the “average wholesale prices” of those drugs. See, e.g.,93 (“AWPs ... are deliberately false
and fictitious and created solely to cause Plaintiffs and the Class members to overpay for
drugs.”); {| 6 (‘the Defendant Drug Manufacturers often promote their drugs not based on lower
prices, but by use of reimbursement rates based on a fictitious and inflated AWP that allows...
PBMs .. . to make inflated profits . . . .”); | 138 (“the AWPs for the drugs at issue here bore little
relationship to the drugs’ pricing in the marketplace. They were simply fabricated and
overstated in furtherance of Defendants’ scheme to generate the profit spread to... PBMs
-...”). The AMCC further alleges that the PBMs are motivated to place drugs on their
formularies with inflated AWPs, because the PBMs will then pocket a greater spread or
differential between the charges paid to pharmacies versus the amount collected from health
plans. 4.171. Pursuant to Massachusetts Laborers, Plaintiffs’ allegations that Defendants acted
in concert with the PBMs to misrepresent and artificially inflate the AWPs, and to use those
artificially inflated prices as the basis for reimbursement by Plaintiffs and the Class members, is
sufficient to state a claim for a concerted action conspiracy under Massachusetts law.

Defendants also complain that the conspiracy count should be dismissed because it
duplicates Plaintiffs’ RICO and consumer fraud claims. Defs. Mem. at 28. However, it is clear
that, under Massachusetts law, “a fraud, if proven, may be the basis for several forms of relief by
an aggrieved person.” Queeno, 1999 Mass. Super. Lexis 506, at *9. Here, Defendants’
fraudulent manipulation of AWPs has manifested itself in multiple wrongs to multiple victims
including Plaintiffs and Class members here. Defendants must now be required to answer for
each of the manifestations resulting from the tortious scheme they and others chose to

perpetuate.

B. The Civil Conspiracy Claim Complies With Rule 9(b)
The AMCC includes detailed allegations of each Defendant’s inflated AWPs, and a
detailed explanation of how the AWP fraud impacts health plans and their participants outside

the Medicare Part B context through the PBMs. Nonetheless, Defendants claim that Plaintiffs

- AQ -

1334.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 12 of 34

only allege conclusory allegations about a conspiracy between Defendants and the PBMs. Defs.
Mem. at 24-26, But a careful reading of the AMCC reveals that Plaintiffs detail each facet of the
conspiracy between the manufacturers and PBMs and the inner workings of the PBM system,
including:

* As fiscal intermediaries between Defendants and health plans and their participants,
PBMs use inflated AWPs set by Defendants as the basis for reimbursement (i) made
by health plans to PBMs for their participants’ drug purchases; and (ii) from the
PBMs to pharmacies for the purchases made by health plans’ members. {ff 70-71.

* PBM contracts with health plans require that health plans pay for Defendants’ brand
name drugs at the published AWP less a certain percentage “discount” (“Health Plan
Payments”). 4 168.

¢ PBM contracts with pharmacies typically require the PBM to reimburse the pharmacy
an amount equal to each drug’s AWP, less a specified discount, plus a dispensing fee
(“Pharmacy Reimbursement”). PBMs refuse to disclose the terms or amount of the
Pharmacy Reimbursement to health plans. 4 171, 174.

¢ PBMs then frequently pocket the undisclosed spread or differential between the
Pharmacy Reimbursement and the Health Plan Payments based on AWP and the true
AWP. 99 171, 175.

* PBMs conduct business with repackagers, who sell a repackaged drug with a higher
price. PBMs negotiate a “discount” with the repackager at a higher and phony AWP,
and keep the higher spread they receive. 171.

¢ Defendants thus encourage PBMs to place their drugs on the PBMs’ formularies by
inflating AWPs, because the drugs with the more inflated AWPs result in greater
profits to the PBMs. ff 171, 176: see also { 6 (“the Defendant Drug Manufacturers
often promote their drugs not based on lower prices, but by use of reimbursement

rates based on a fictitious and inflated AWP that allows... PBMs... to make
inflated profits.’’).

These allegations are sufficient to put Defendants on notice of “(t]he general outline of
the general scheme to defraud” and therefore satisfy Rule 9(b). Kuney, 746 F. Supp. at 237.
Plaintiffs “must allege the circumstances of the fraud,” as they have, but are “not required to
plead all of the evidence or facts supporting it.” Parke-Davis, 147 F. Supp. 2d at 46-47.
Furthermore, Plaintiffs are not required to identify the content and speaker of every statement
made in furtherance of Defendants’ scheme as long as Plaintiffs have sufficiently described the

mechanisms of that scheme. See Rolo v. City Inv. Co. Liquidating Trust, 155 F.3d 644, 658 (3d

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1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 13 of 34

Cir, 1998) (Plaintiffs “need not, however, plead the ‘date, place or time’ of the fraud, so long as
they use an ‘alternative means’ of injecting precision and some measure of substantiation into
their allegations of fraud.”) (citation omitted). Plaintiffs have clearly satisfied that standard by
detailing the mechanisms of how Defendants have worked to conspire with and perpetuate the

AWP Scheme through the PBMs.

VIE. COUNT IV PROPERLY PLEADS VIOLATIONS OF STATE
CONSUMER PROTECTION STATUTES

Defendants’ second attempt to obtain dismissal of Plaintiffs’ state consumer protection
claims is as unfounded as the first attempt and, for the reasons presented below, should again be
rejected.

A. Plaintiffs Have Properly Pled Causation

At this stage in the litigation, Plaintiffs need only aver, not prove, a causal connection
between Defendants’ deceptive conduct and the harm that Plaintiffs have suffered. According to
Defendants, Plaintiffs have failed to sufficiently allege that Defendants “directly and
proximately” caused their injuries under the consumer protection laws of Florida, Illinois,
Louisiana, New Jersey, New York, Pennsylvania, Texas, and Washington. Defs. Mem. at 29-30.
Defendants once again misconstrue the AMCC.

The AMCC is replete with allegations that Plaintiffs’ injuries were caused as a direct

result of Defendants’ deceptive practices, including the following examples:

The Defendant Drug Manufacturers’ pattern of fraudulent
conduct in artificially inflating the AWPs for their drugs...
directly caused Plaintiffs and the members of the Class to
substantially overpay for those drugs.

* ok #

The wrongful conduct alleged in this Complaint . . . has
caused great harm to Plaintiffs and the Class, who were
foreseeable and direct victims... .

* kK

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1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 14 of 34

As a direct and legal result of Defendants’ misleading,

deceptive, unfair, false and fraudulent trade practices, Plaintiffs

and the Class have sustained injuries.
{1 140, 689, 691. Furthermore, Plaintiffs repeatedly allege that the deceptive acts of each
individual Defendant “resulted in excessive payments by Plaintiffs and the Class.” See 9 216,
230, 249, 270, 285, 299, 313, 326, 341, 363, 375, 416, 421, 434, 443, 448, 475, 491, 505, 520,
539 (emphasis added.) Plaintiffs further aver causation in connection with their antitrust claims
involving the Together Rx Card (4 545, 587, 724) and for each of their claims for conspiracy.
4] 733, 741.

Plaintiffs also sufficiently allege that Defendants proximately caused their injuries.
“Proximate cause” means any cause that, in natural or probable sequence, produced the injury
complained of. Capiccioni v. Brennan Naperville, Inc., 791 N.E2d 553, 561 (Ill. App. Ct. 2003)
(finding proximate cause pled in consumer fraud claim). The AMCC repeatedly alleges
proximate cause. See §] 644 (“[t]he Defendant Drug Manufacturers’ violations of federal law
and their pattern of racketeering activity have directly and proximately caused Plaintiffs and
members of the Classes to be injured.”); 689 (“The wrongful conduct alleged in this
Complaint...has caused great harm to Plaintiffs and the Class, who were foreseeable and direct
victtms.”); 724 (“[t]he violations of federal law and their pattern of racketeering activity have
directly and proximately caused Plaintiffs and the members of Nationwide End Payor Together
Card Class to be injured”); 733 (“[a]s a direct, proximate result of this [PBM] conspiracy,
Plaintiffs and Class Members have been injured”); and 741 (“[a]s a direct, proximate result of
this [Together Card ] conspiracy, Plaintiffs and Nationwide End Payor Together Card Class
Members have been injured”).

Defendants contend that Plaintiffs cannot show that Defendants were the direct and
proximate cause of their injuries because the AMCC alleges an “attenuated causal chain”
involving several intervening actors that contributed to the deception of Plaintiffs. Defs. Mem.

at 29-30. However, this argument is belied by the plain allegations of the AMCC.

-43-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 15 of 34

As the AMCC explains, Defendants unilaterally reported AWPs to the Publishers and had
exclusive control over their accuracy. $f 3, 136-38, 161-62. Defendants directed medical
providers to take advantage of the AWP spreads so that the providers would prescribe the drugs
with the most inflated AWPs to Plaintiffs and the Class. 114, 163-64. Defendants provided
similar incentives to PBMs to take advantage of the lucrative AWP spreads so that Defendants
would have the benefit of having their drugs placed on the PBM formularies. (15, 172-73.
Moreover, Defendants actively concealed, and caused others to conceal, information that the
AWPs were deliberately overstated. J 7, 191-97. As a result of Defendants’ scheme, Plaintiffs
suffered harm by substantially overpaying for drugs based on artificially inflated AWPs. This
harm certainly was a foreseeable, and indeed, an intended consequence of Defendants’ deceptive
conduct, as Defendant GSK itself envisioned. See | 395. Certainly, the so-called “intervening
actors” who were provided incentives to act as Defendants imstructed, merely advanced — and did
not break — the chain of causation that began with Defendants. See supra Section V.D.”’
Accepting these averments and all reasonable inferences as true, Plaintiffs have unequivocally
pled that Defendants were a direct and proximate cause of Plaintiffs’ injuries.

Nor does the lone case cited by Defendants, Oliveira v. Amoco Oil Co., 776 N.E.2d 151
(lil. App. Ct. 2002), suggest otherwise. In Oliveira, the court only addressed the proximate
causation pleading requirements where the theory of liability was based on a false advertisement
claim. Oliveira, 776 N.E.2d at 164. Here, however, Plaintiffs do not plead false advertising.
Moreover, unlike the plaintiffs in Oliveira, Plaintiffs here have expressly alleged that they were
deceived by Defendants’ scheme.

Defendants further argue that the AMCC does not allege causation because it fails to
allege that the actual publication of the AWPs caused Plaintiffs to purchase more drugs. Defs.

Mem. at 30-31. This argument misses the point. Again, this is not a false advertisement case.

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Rather than repeat arguments already made in great detail above and unnecessarily prolong this
memorandum, Plaintiffs refer the Court back to Section V.D.’s description of causation in the context of RICO.

- 44.

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 16 of 34

Plaintiffs need only aver that there is a causal connection between Defendants’ deceptive
practices and Plaintiffs’ injuries. Here, they have alleged that Defendants’ scheme caused them

to make overpayments for medications. Accordingly, Defendants’ arguments are meritless.

B. Plaintiffs Have Properly Identified Defendants’ Deceptive Practices

Defendants contend that their disputed conduct does not constitute “deceptive” or
“misleading” practices under the relevant consumer statutes. Defs. Mem. at 31-33. Well-
established law and the allegations of the AMCC belie this argument.

To demonstrate deception under each of the consumer protection statutes at issue,
Plaintiffs need only show that the practice has a tendency or capacity to deceive consumers.”
Here, the AMCC alleges numerous material facts underlying Defendants’ deception. For
example, Plaintiffs aver that Defendants failed to disclose that the published AWPs do not reflect
the true average wholesale price of the drugs they sell. See J 3,7 191-97, 687, The AMCC
further alleges that Defendants did not tell consumers that they intentionally inflated the AWPs
to increase their respective market share and profitability at the expense of consumers, Jd. Nor
did Defendants reveal that they encouraged Medicare Part B providers to prescribe medications
based on the “spread” rather than for medical reasons and thereby increased the co-payments
made by Medicare Part B participants. /d.

Defendants argue that such conduct is not deceptive because they reported their AWPs to
private publications and not directly to Plaintiffs and therefore the AWPs could not have “ured”
consumers to purchase the overpriced medications, Defs. Mem. at 32. This isa red herring. Of
course, Plaintiffs did not decide to purchase drugs based on prices listed in the Red Book.

However, that does not render Defendants’ misconduct any less deceptive. Defendant’s caused

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Freeman v. Time, Inc., 68 F.3d 285, 288 (9th Cir. 1995) (California Law); State v. Gardiner, 2000 WL

973304, *4 (Del. Super. Ct., June 5, 2000) (Delaware Law); Davis v. Powertel, Inc., 776 So. 2d 971, 974 (Fla. Dist.
Ct. App. 2000) (Florida Law); Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 938 (7th Cir, 2001) (Illinois Law);
Shaw Indus. v. Brett, 884 F. Supp. 1054, 1056 (M.D. La. 1994) (Louisiana Law): Sutton v. Viking Oldsmobile
Nissan, Inc., 611 N.W.2d 60, 64 (Minn. Ct. App. 2000) (Minnesota Law); In re Shack, 426 A.2d 1031, 1034 (NJ.
App. Ct. 1981) (New Jersey Law): Marcus v. AT&T Corp., 138 F.3d 46, 64 (2d Cir. 1998) (New York Law); 73 Pa.
Stat. § 201-1 et seg. (Pennsylvania Law); Tex. Bus. & Com. Code §§ 17.41 B 17.63 (Texas Law); Robinson v. Avis
Rent A Car Sys., 22 P.3d 818 (Wash. Ct. App. 2001) (Washington Law).

-45-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 17 of 34

the inflated AWPs to be published with the specific goal of giving the people and entities who
control market share (PBMs and medical providers) an incentive to overcharge Plaintiffs and the
Class. Moreover, Plaintiffs had no way of knowing that the AWPs were vastly inflated and that
they were substantially overpaying for drugs. The fact that Defendants went to great lengths to
conceal these facts from the public is further evidence that they knew that consumers would be
outraged to learn of their deceptive conduct.

Defendants cite Daaleman v. Elizabethtown Gas Co., 390 A.2d 566, 569 (N.J. 1978), for
the proposition that state laws do not apply where alleged misrepresentations were not made to
plaintiffs. Defs. Mem. at 32. However, Daaleman does not stand for this proposition. In
Daaleman, the plaintiffs alleged that the defendant, a privately held public utility company
operating under the jurisdiction of the state PUC, overcharged customers by improperly
including certain automatic price adjustments to account for a rise in the cost of purchasing and
storing natural gas. The Daa/eman court merely held that this particular billing practice did not
constitute a “selling or advertising” practice within the meaning of the New Jersey Consumer
Fraud Act, N.J. Stat. Ann §§ 56:8-1 — 56:8-24 (“NJCFA”), and that the state public utility
commission had exclusive jurisdiction over this specialized issue. Nothing in the opinion
suggests that the NJCFA would not apply to a defendant that reported false prices to a publisher
with the intended purpose of deceiving consumers.

Defendants also argue that Plaintiffs could not have been deceived by Defendants’
conduct because Plaintiffs negotiated with PBMs to pay for drugs at discounts off AWP and
therefore knew that published AWPs “reflect undiscounted prices.” Defs. Mem. at 32. This
argument defies logic and is factually inaccurate. One cannot logically deduce from the fact that
some Plaintiffs were able to negotiate a discount off AWP, that the AWP must be an
undiscounted sticker price. To the contrary, a more reasonable conclusion would be that any
discount off AWP was the product of negotiation and good fortune because AWP is an

“average,” and therefore, by definition, some purchasers paid prices above AWP while others

- 46 -

1334.16 0026 MTN. DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 18 of 34

paid prices below AWP. Plaintiffs certainly could not have known the vast degree to which
Defendants overstated AWPs.

Plaintiffs also can establish liability under the relevant consumer protection statutes for
the additional reason that the statutes prohibit any “unconscionable” business practices. The
AMCC alleges that Defendants engaged in unconscionable business practices. See, e.g., J] 686-
87. Thus, for purposes of determining whether Defendants violated the consumer protection
statutes by unconscionable business practices, the only issue is whether the manufacturers
actually engaged in such a scheme or practice. Here, Plaintiffs allege that Defendants took
unfair advantage of unsuspecting consumers who were unable to protect their interests by
causing them to overpay for medications. Thus, Plaintiffs have adequately pled deceptive and

unconscionable acts.

C. Plaintiffs Have Standing to Sue Under the Consumer Statutes

Defendants’ assert a number of reasons why Plaintiffs lack standing under the consumer
statutes of Delaware, Florida, Louisiana, New Jersey, Pennsylvania, and Washington. Defs.
Mem. at 33-34. However, each of their objections is meritless.

Defendants first argue that the Delaware Deceptive Trade Practices Act precludes private
causes of action. Defs. Mem. at 33. However, Plaintiffs assert their claim under the Delaware
Consumer Fraud Act, which provides for private causes of action. See Young v. Joyce, 351 A.2d
857 (Del. 1975) (holding that private causes of action are available under 6 Del. Code § 2525).

Defendants next contend that only Florida residents can bring a cause of action under the
Florida Trade and Unfair Practices Act (“FTUPA”). Defs. Mem. at 33. However, a Florida
appellate court, after conducting a lengthy analysis on the issue, held that non-residents can
maintain an action under the FTUPA. Millennium Communs. & Fulfillment, Inc. v. Florida, 761
So. 2d 1256 (Fla. Ct. App. 2000) (holding that FTUPA applies to commercial transactions

between Florida corporations and non-residents). Notably, the one case that Defendants cite,

-47-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 19 of 34

OCE Printing Sys. USA, Inc. v. Mailers Data Servs., Inc., 760 So. 24 1037 (Fla. Ct. App. 2000),
lacks precedential value because it is bereft of any legal analysis on the issue.

Defendants further argue that Plaintiffs lack standing because some Louisiana courts
have held that only direct consumers and business competitors have standing under Louisiana’s
Unfair Trade Practices Act (“LUTPA”). But Defendants ignore the fact that a number of
Louisiana courts have held to the contrary, finding that a plaintiff need not be a consumer ot a
competitor to maintain a private cause of action under LUTPA. See Capitol House Preservation
Co. v. Perryman Consultants, Inc., 725 So. 2d 523, 530 (La. Ct. App. 1998) (“Although business
consumers and competitors are included in the group afforded this private right of action,
Louisiana courts have repeatedly held they are not its exclusive members.”); Jarrell v. Carter,
577 So. 2d 120, 123 (La. Ct. App. 1991) (holding that the consumer fraud statute “confers a night
of private action on ‘[a]ny person who suffers any ascertainable loss of money or movable
property’’).

Defendants next argue that Plaintiffs are not consumers under the New Jersey Consumer
Fraud Act (“NJCFA”) “because they do not ‘diminish or destroy the utility’ of the prescription
drugs” named in the AMCC. Defs. Mem. at 34, Defendants are mistaken. In fact, the Second
Circuit recently found otherwise under similar facts. In Desiano v, Warner-Lambert Co., 326
F.3d 339 (2d Cir. 2003), plaintiff health insurers brought claims against a drug manufacturer
seeking recovery of the purchase price of a diabetes drug purchased for its insureds that was
fraudulently promoted as being safer and more effective than alternatives. In finding in the

plaintiffs’ favor, the court explained:

Although this court has not to date held that insurance companies
are, in all instances, the “purchasers” of the drugs for which they
reimburse pharmacies, we, like several other courts, have indicated
that in a variety of contexts they are the buyers. (Citations
omitted.) Moreover, and more directly relevant to this case,
perhaps, Plaintiffs point out that this and other courts have long
recognized the right of [health benefit plans] to recover from drug
companies amounts that were overpaid due to illegal or deceptive
marketing practices. See, e.g., Hartford Hosp. v. Chas. Pfizer &

- 48 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 20 of 34

Co., 52 F.R.D. 131, 133 (S.D.N.Y. 1971) (approving $10 million
class action settlement of antitrust claims brought by insurance
plans against drug companies). [/d. at 349-50.]

Here, as in Desiano, Plaintiffs have paid the costs (or a large portion thereof) for the end-
users. Thus, there is no reason why the health benefit plan Plaintiffs in this case — organizations
that have suffered substantial ascertainable losses as a result of Defendants’ deceptive conduct —
should be denied their right to be made whole like any consumer. Furthermore, the case that
Defendants rely upon, City Check Cashing, Inc. v. National State Bank, 582 A.2d 809 (N.J. Ct.
App. 1990), is easily distinguishable. In City Check Cashing, the court compared the plaintiff to
a typical wholesaler of goods and ruled that a wholesaler could not bring a claim against the
manufacturer. Here, however, Plaintiffs are not in the position of wholesalers of goods, but
rather are the actual payers of the costs (or a large portion thereof) of the end-users.
Accordingly, City Check Cashing, Inc. does not apply.

Defendants’ fifth argument is that the AMCC is defective under Pennsylvania law
because it fails to allege that Plaintiffs purchased the drugs “primarily for personal, family or
household purposes.” Defs. Mem. at 34. Under the Pennsylvania Unfair Trade Practices and
Consumer Protection Law (“PUTPCPL”), “any person who purchases or leases goods or services
primarily for personal, family or household purposes and thereby suffers any ascertainable loss
. .. may bring a private action. . .” 73 Pa. Stat. § 201-9.2. However, the allegations in the
AMCC satisfy these requirements. The obvious purpose of purchasing drugs is to use the
medications for personal purposes. See Valley Forge Towers S. Condominium v. Ron-Ike Foam
Insulators, Inc., 574 A.2d 641 (Pa. Super. Ct. 1990) (finding that a condominium association’s
purchase of a replacement roof involved a purchase for personal, family or household purposes).

Thus, the drugs were purchased for personal use. At worst, the use is part consumer and part

~49 -

1534.16 6026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 21 of 34

commercial and therefore should be deemed a consumer one. See Marascio v. Campanella, 689
A.2d 852 (N.J. Ct. App. 1997). Accordingly, Plaintiffs have standing under Pennsylvania law.

Defendants’ reliance on Waldo v. North Am. Van Lines, inc., 669 F. Supp. 722, 725-26
(W.D. Pa. 1987), is misplaced. In Waldo, the court held that the state consumer fraud act did not
apply because the purchased item was for business purposes and therefore did not have a
“consumer nature.” In contrast, here, Plaintiffs never even took actual title to the medications at
issue in this case. Nor did they sell them as part of a wholesale or distribution business. Instead,
they simply reimbursed on behalf of the end user. Therefore, ail of the payments were consumer
oriented in nature.

Defendants lastly argue that Plaintiffs lack standing under Washington law “because they
have not purchased drugs directly from the defendants.” _Defs. Mem. at 34. To support their
argument, Defendants mistakenly rely on Blewett v. Abbott Labs, 938 P.2d 842 (Wash. Ct. App.
1997). However, in Blewett, the plaintiffs, who were indirect purchasers, alleged that defendant
engaged in price-fixing and brought a consumer protection claim under: (i) an anti-price-fixing
provision (RCW 19.86.030), and (ii) a misleading and deceptive conduct provision
(RCW 19.86.020). The Blewett court concluded that no recovery was available for indirect
purchasers under the price-fixing provision and consequently would not allow plaintiffs to recover
on the same price-fixing allegations under RCW 19.86.020. However, the present case is

distinguishable from Blewett because Plaintiffs have alleged independent misleading and deceptive

29 , . . . . .
Defendants similarly argue that the alleged misconduct at issue is not “consumer oriented” under New York

law. Defs. Mem. at 35. However, because the AWP scheme causes universal price distortion in connection with the
purchase and reimbursement of all relevant pharmaceuticals, it is a matter that greatly affects the public interest of
New York. See Securitron Magnalock Corp. v. Schnabolk, 65 F.3d 256, 264 (2d Cir. 1995) (stating that the critical
issue for determining whether certain conduct is “consumer oriented” under New York law is whether “the matter
affects the public interest in New York, not whether the suit is brought by a consumer or a competitor’); New York
v. Feldman, 210 F, Supp. 2d 294, 301 (S.D.N.Y. 2002) (“A defendant engages in ‘consumer-oriented’ activity if his
actions cause any ‘consumer injury or harm to the public interest.’’’),

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Under the PUTPCPL, an organization or entity can make purchases for a consumer purpose. See S. Kane &
Son Profit Sharing Trust v. Marine Midland Bank, No. 95-CV-7058, 1996 WL 200603 (E.D. Pa. Mar. 8, 1996)
{holding that a trust’s purchase of securities was primarily for the personal purposes of those beneficiaries because it
was formed to act on behalf of individual employee members of a benefit plan).

- $0 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 22 of 34

conduct (other than price-fixing) that forms the basis of their claim under RCW 19.86.020, it is not
a price-fixing case.

Accordingly, all of Defendants’ challenges to standing are meritless.
D. Plaintiffs Are Not Required to Plead Reliance

Defendants contend that Plaintiffs must prove reliance to state a valid claim under
the consumer protection statutes of Pennsylvania and New York. Defs. Mem. at 35.

Defendants, however, misconstrue Plaintiffs’ claims and ignore the body of law interpreting
these statutes.

Neither section 201-2(v)(xxi), the so-called “Catchall” provision of the PUTPCPL", nor
sections 349 and 350 of New York’s General Business Law require Plaintifts to plead actual
reliance to allege a claim for deceptive practices. See Commonwealth v. Percudani, 2003 WL
21211325 (Pa. Cmmw. May 27, 2003) (Pennsylvania law); Weiler v. Smithkline Beecham Corp.,
2001 WL 1807382 at *2 (C.P. Phila. Oct. 8, 2001) (Pennsylvania law) (holding that reliance is
not required under the statute’s Catchall Provision where, rather than a common law fraud case,
the action is based on deceptive practices); Blue Cross & Blue Shield of N.J., Ine. v. Phillip
Morris, Inc., 178 F. Supp. 2d 198, 231 (E.D.N.Y 2001) (New York law) (finding that the act
eliminates the traditional requirements of reliance and scienter).

This “Catchall Provision” of the UTPCPL permits a plaintiff to establish a valid claim by
proving either “the elements of common law fraud, or that Defendant’s deceptive conduct

caused harm to the Plaintiff.” Zwiercan, 2002 WL 31053838 at *2 {emphasis added).

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Significantly, in 1996, the Pennsylvania legislature amended the Catchalt provision to prohibit deceptive

conduct in addition to fraudulent conduct as follows:

(xxi) Engaging in any other fraudulent ar deceptive conduct which creates a
likelihood of confusion or misunderstanding.

UTPCPL § 201-2(v)(xxi) (emphasis added to show added language). Prior to the amendment, the Catchall
provision proscribed only “fraudulent conduct” creating a likelihood of confusion or misunderstanding. Although
some Pennsylvania Superior courts have interpreted the provision as still requiring plaintiffs to plead the elements of
common law fraud, the Pennsylvania Commonwealth Court recently discredited that line of cases for failing to
discuss the 1996 amendments to the Law and held that the only reasonable construction of the Catchall provision
under settled rules of statutory interpretation requires that the added term “or deceptive” be ascribed meaning,
Percudant, 2003 WL 21211325 at *3,

-5]-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 23 of 34

Nor do the cases cited by Defendants suggest otherwise. For example, Weinberg v. Sun
Co., Inc, 777 A.2d 442 (Pa. 2001), merely held that a plaintiff must demonstrate actual reliance
on a false advertisement in a false advertising case. Similarly, MeGill v. General Motors Corp.,
231 A.D.2d 449 (N.Y. App. Div. 1996), is unavailing because it too held that false advertisement
claims should be dismissed absent a showing that “any plaintiff relied upon or even knew about”
the allegedly false advertisements at issue. /d. at 450 (emphasis added).” However, Plaintiffs
do not assert false advertising claims here and are consequently are not required to plead

reliance.

VI. THE AMCC PROPERLY INCLUDES MULTIPLE-SOURCE
DRUGS IN THE AWP INFLATION SCHEME

In three scant pages of argument, Defendants seek to have this Court dismiss the vast
majority of drugs from this case simply because they are multiple-source drugs. In doing so,
Defendants plainly ignore the allegations of the AMCC, cast aside major criminal and civil
investigations of their conduct relating to multiple-source drugs over many years, pretend they
are unaware that some of the most egregious AWP price manipulation occurs in the
generic/multi-source arena, and claim the existence of regulatory practices that nowhere appear
in the record (let alone this 12(b)(6) context). ‘The arguments wholly lack merit.

A. The AMCC’s Detailed Allegations Regarding Multi-Source Drugs

The AMCC is replete with examples of AWP price fraud for multi-source drugs. As the

AMCC alleges, Defendants “AWP fraud is most exacerbated for generic drugs or for brand name

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Debbs v. Chrysler Corp., 2002 WL 3138888 (Pa. Super. 2002), is not applicable here because Debhs
involved a claim that originated in 1990, before the 1996 amendment broadening the Catchall Provision of the
UTPCPL.
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~ Moreover, because New York courts construe the state’s consumer fraud provisions liberally, see Teller v.
Bill Hayes, Ltd., 213 A.D.2d 141, 146: Blue Cross, 178 F. Supp. 2d at 231, plaintiffs were not required to plead the

elements of fraud with particularity in order to state a claim under § 350.
34
Brand name drugs are typically those drugs that still enjoy patent protection, but can include drugs that

continue to be sold under a brand name even though generic competition (in a form of biological or therapeutic
equivalents of the brand name) has entered that market. Generic drugs are drugs that are the FDA-approved bio-
equivalent of a brand name drug. The phrase “multi-source drugs” is a broader expression for generics under a
circumstance where brand name drugs continue to be marketed even through generic competition has entered; in
those circumstances, there are multiple sources from which the same FDA-approved bio-equivaient pharmaceutical
may be purchased.

-52-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 24 of 34

drugs for which there are biological but therapeutic equivalents.” §[ 179. The rational for this, as
explained in the AMCC, is simple: under circumstances where biological or therapeutic
equivalents are acknowledged to exist, competition is most fierce and, accordingly, the
temptation or actuality of AWP inflation to create profit incentives to increase or maintain
market share is highest. As the AMCC chronicles, competition among biological or therapeutic
equivalents, along with the incentive it creates for practicing over-reimbursement, settings in
which drugs are reimbursed or purchased, whether in the public or private arena, and whether in
Medicare or Medicaid. In “the private payor arena, generic drug reimbursement is closely tied to
the published AWP for a generic drug.” § 184-85. As a result, generic “drug makers are able to
push market share for their generic products by intentionally increasing the published AWP for a
generic drug with the intention to create a profit margin for others in the distribution chain.”
183. The AMCC also describes how PBMs utilize generic drug pricing to their advantage,
through shifting MAC price listings to their advantage and to the disadvantage of plan sponsors.
{ 182.

Similarly, generic or multi-source over-reimbursement abuse occurs in the public payor
arena. As Defendants are well aware, Medicaid reimburses generic drugs on the basis of a specific
generic drug maker’s generic product; as a result, classic AWP price inflation runs for the benefit
of generic makers and to the disadvantage of the federal government. Furthermore, the AMCC
alleges that within the Medicare Part B arena multi-source products are also able to gain or lose
market share depending upon how aggressively they engage in over-reimbursement. {J 184, 189.

Because competition is most acute in the multi-source context, it should come as no
surprise that the vast majority of examples of AWP abuse occur in the multi-source arena.

Among many examples, the AMCC sets forth the following at paragraph 187”:

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See Tf 208, 214, 280, 283-84, 293, 312, 323, 325, 336, 343, 353, 359, 360, 37, 373-74, 466, 472, 486-87, 503,
534 and 535, for other examples of multi-source AWP abuse.

- 53 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 25 of 34

DOJ
RedBook Determined Percentage
Defendant Multisource Drug AWP Actual AWP Spread
Abbott Sodium Chloride $670.89 $3.22 20,735%
Baxter Dextrose $928.5] $2.25 41,167%
Baxter Sodium Chloride $928.51 $1.71 54,199%
Boehringer Group | Leucovorin Calcium $184.40 $2.76 6,581%
B. Braun Sodium Chloride $11.33 $1.49 660%
BMS Group Etoposide (Vepesid) $136.49 $34.30 298%
Dey Albuterol Sulfate $30.25 $9.17 230%
Immunex Leucovorin Calcium $137.94 $14.58 846%
Pharmacia Etoposide $157.65 $9.47 1,565%
Sicor Group Tobramycin Sulfate $342.19 $6.98 4,802%
Watson Vancomycin HCL $70.00 $3.84 1,567%

In sum, the AMCC sets forth scores of examples of multi-source drugs for which
fraudulent AWPs have resulted in overpayments over the years. These allegations — not

Defendants’ denials — should control in this 12(b)(6) context.

B. Defendants “We Have No Incentive” Argument Makes No Sense

Ignoring the controlling allegations of the complaint, defendants argue (or more
accurately, assert as a matter of fact outside the record), that the regulatory practice of CMS is to
cause uniform billing of multi-source pharmaceuticals strictly on the basis of “the lesser of the
median average wholesale price for all sources of a generic form” or the lowest AWP for the
brand name. Defs. Mem. at 36. From this factual assumption, Defendants argue that there can
be no incentive for any manufacturer of a multi-source drug to increase its AWP. The logic, and
the factual assumptions, are simply wrong.

First, Defendants’ argument that Medicare Part B is the regime that controls all multi-
source drug pricing is wrong. Medicare Part B covers only a narrow band of injectible drugs; as
a result, the Medicare Part B pricing regime has no effect whatsoever on drugs not eligible for

Medicare Part B coverage.

-54-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 26 of 34

Second, even for the narrow band of multi-source drugs covered by Medicare Part B,
those drugs are not exclusively reimbursed by Medicare Part B; indeed, for most multi-source
drugs, the lion’s share of reimbursements occur outside the context of Medicare Part B.
Accordingly, the Medicare Part B pricing regime for multi-source drugs does not control the
manner, or the incentives, for AWP price inflation. “

Third, even within the Medicare Part B regime, the Defendants (as the AMCC alleges)
have repeatedly been documented to have directly caused over-reimbursement for multi-source
drugs, despite the regulatory requirement (but perhaps not the regulatory practice) of using the
median AWP of multi-source drugs. Since Defendants go outside the complaint to posit this

argument, Plaintiffs refer to the following reports which are to the contrary:

e As one industry observer has written, “The AWP, while not the cost paid by retailers, still
provides the basis for much retail pricing, with retailers euphemistically referring to the
difference between their actual cost and the AWP as ‘earned discount.” ... This
situation is more pronounced with generic drugs. Many generic companies have taken
advantage of this use of AWP by substantially inflating their published AWPs. ...
Soon, many other generic companies instituted similar policies. ... It is also common for
the AWP of a generic product to remain stable while the actual selling price declines.”
PP. 36-37). (E. M. Kolassa, Elements of Pharmaceutical Pricing, The Pharmaceutical
Products Press (1997)). (Cited in AMCC { 185.) See also J. Sokolovsky, “Payment
system for prescription drugs covered under Part B — Presentation to Senate Committee
on Finance staff.’ Medicare Payment Advisory Commission. (Feb. 28, 2003), at p. 10
(“Difference between AWP and acquisition costs are highest for products available from
more than one source.”). (Attached as Exhibit B to Affidavit of Tom Sobol (“Sobol
Aff”).

¢ Ina 2001 investigation, GAO found that: “Two drugs, albuterol sulfate and ipratropium
bromide, used with DME for respiratory conditions, account for most of the pharmacy-
supplied drugs paid for by Medicare. In 2001, they were available to pharmacy suppliers
at prices that averaged, respectively, 85 percent and 78 percent less than AWP. Other
high-volume DME-administered drugs had prices averaging 69 percent and 72 percent
less than AWP. These findings are consistent with prior studies of similar drugs
[albuterol].” (Medicare Part B Drug Program Payments Should Reflect Market Prices.
GAO-01-1142T. (Sep. 21, 2001). Sobol Aff. Ex. C.

46
Although many Medicare Part B eligible multi-source drugs are alleged in the AMCC to have suffered
unlawful over-reimbursement as a result of incentives that exist outside of the Medicare Part B context, this does not
mean that those private persons are paying co-payments for Medicare but the charges are not affected by those
unlawful and fraudulent AWPs. The incentives that result in multi-source drug makers to inflate AWPs have the
spillover effect of equally impacting the reimbursement rates set in Medicare Part B.

37
The studies cited below were all used in drafting the AMCC.

-55-

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 27 of 34

¢ In 2002, the GAO found that “discounts . . . were largest for products that could be
obtained from more than one source.” (P. 7). (Medicare Outpatient Drugs — Program
Payments Should Better Reflect Market Prices. GAO-02-531T. (Mar. 14, 2002). Sobol
Aff. Ex. D.

¢ Ina 2002 audit, HHS determined that “actual generic drug acquisition was a national
average of 65.93 percent below AWP. Our previous estimate, based on Calendar Year
(CY) 1994 pricing data, showed a discount of 42.45 percent below AWP for generic
drugs. As a result, this review showed an increase of 55.31 percent in the average
discount below AWP for generic drugs from 1994 to 1999.” (P. 3, Executive Summary).
(Medicaid Pharmacy — Actual Acquisition Cost of Generic Prescription Drug Products.
A-06-01-00053. (Mar. 4, 2002). Sobol Aff. Ex. E.

e “[U]nder this system, the GAO found that the differences between AWP and the widely
available catalog prices actually were largest for the products where there were more
generics available... [cost of the product] remains the same. AWP goes up, and if you
do the subtraction the resulting profit or the provider margin for that drugs goes up
without the cost to the manufacturer going down.” (PP. 3-4). (Minutes. Medicare
Payment Advisory Commission Public Hearing. (Sept. 13, 2002). Sobol Aff. Ex. F.

° Ina recent report to Congress, the Medicare Payment Advisory Commission, an
independent federal body established by the BBA of 197, reported on variations in
Medicare purchasing. One of the issues examined was “the system creates incentives for
manufacturers to raise prices”. (P. 150). “Incentives for increasing AWPs — In
percentage terms, the biggest difference between the listed AWP for drugs and actual
prices paid by physicians and suppliers tends to occur with generic drugs or brand
name drugs for which there are alternatives available in the same therapeutic class.
For these drugs, manufacturers compete to increase their market share. This
competition can take two forms. A manufacturer may raise the AWP for its product
without changing the price charged to purchasers. ... [or] leave the AWPs at existing
levels, and offer larger discounts directly to physicians who choose their drugs over
products offered by competitors.” (P. 156). (“Report to Congress: Variation and
Innovation in Medicare.” Medicare Payment Advisory Commission. (Jun. 12, 2003)).
Sobol Aff, Ex. G.

Fourth, Defendants assume that the regulatory provision for charging the ‘‘median” of the
AWPs for multi-source drugs is operative and consistent and incapable of manipulation or
exploitation. But this assumption is a disputed fact. For example, GAO recently chronicled that
cartiers (not CMS itself) established drug reimbursement amounts throughout the country and
that those carriers issued markedly different reimbursement amounts for multi-source drugs. In a
2001 report that compared acquisition cost with reimbursement allowances, the GAO found that:
“Widely available prices in 2001 reflected average discounts of 78 percent from the AWP for

ipratropium bromide and 85 percent for albuterol, two DME-delivered inhalation therapy drugs.

- 56 -

1534.16 0026 MFN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 28 of 34

That accounts for most of Medicare payments to pharmacy suppliers,” (P. 4). Both drugs are
multi-source drugs. /d. at 18. Further, GAO reported: “Within these guidelines, each carrier
contracting with Medicare to process claims has discretion to determine which NDCs should be
used to calculate the payment rate for each HCPCS code. This can lead to variation in payment
amounts among carriers for the same HCPCS-coded drug.” /d. at 10 n.16.

Similarly, when Medicare Part B reimbursed multi-source drugs on the basis of generic
prices (and ignoring brand name prices), generic makers exploited this loophole by grossly
exaggerating the spread for their generic prices even to points where the generic prices far
exceeded the brand name price. Ina report on the impact of high-priced generic drugs on the
Medicare and Medicaid programs, HHS concluded that “high-priced generic drugs have a
significant financial impact on Medicare and Medicaid reimbursement.” Id. at ii. (Emphasis
added). HHS also found that in some instances, the AWP for generic products was three to four
times greater than the brand price. /d. ati. Moreover, HHS found that “Prior to January 1,
1998... [flor drugs with generic versions, the carriers determined reimbursement based on the
median of all AWPs for the generic drugs.” /d. at C-2. Of the four drug codes reviewed
(vancomycin, etoposide, kanamycin sulfate and di goxin), all four had at least two generic
versions available in 1997. In addition, all had between one and four generic versions with
published prices higher than brand prices.

The plain fact is that the spread still exists and each generic manufacturer leap frogs each
other increasing the spread and, therefore, causing generics to have the largest spreads. This fact
of ongoing reimbursement spread abuse in the multi-source area was reiterated as recently as

three weeks ago, when CMS observed:

In general the ‘spread,’ in percentage terms, is larger for the
generic drugs examined in the studies than for brand drugs. This is
consistent with our understanding that when actual market prices

38
Payments for Covered Outpatient Drugs Exceed Providers’ Cost. GAO-O1-01118. (Sep. 21, 2001),
Attached as Ex, H to Sobol Aff.
39
The Impact of High Priced Generic Drugs on Medicare and Medicaid. Draft Report. Sobol Aff. Ex. J.

57.

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 29 of 34

decline with the introduction of generic competition, the list AWPs
do not usually experience a corresponding decline of the same
magnitude.

Federal Register, Volume 68, No. 161 at 50,428 (August 20, 2003).

Finally, if one-steps back from the situation and observes Defendants’ arguments in the
stark light of their own pricing behavior, Defendants’ arguments simply make no sense. If
Defendants have nothing to gain by grossly overstating the AWP for multi-source drugs, then
why is it that they have done so, and done so to such an egregious extent? If truthful AWP
reimbursement publication really exists in the multi-source arena (because as defendants would
have it there is no motivation for such conduct), then how is it that public and private authorities
have chronicled scores of AWP fraudulent abuse in the multi-source drug arena? Why have
several drug makers paid multi-million dollar civil settlements relating to multi-source drugs?
Why have many drug makers narrowly escaped criminal indictments through the payment of
significant fines and making agreements that constrain future corporate behavior? These
questions — rhetorical as they are — highlight the untenability of Defendants’ so-called “logical”
arguments with respect to multi-source drugs and undercut their validity. The AMCC pleads a
viable AWP inflation fraud within the context of multiple-source drugs, and Defendants’

arguments on this issue should be flatly rejected.

IX. CONCLUSION

For the foregoing reasons, Defendants’ motion to dismiss should be denied.

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- 58 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 30 of 34

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- 59 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 31 of 34

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- 60 -

1534.16 0026 MTN.DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 32 of 34

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-6l -

1534.16 0026 MTN.DOC
f 34
/03 Page 330
12257-PBS Document 512-3 Filed 09/15

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-62.-

1534.16 0026 MTN,DOC
Case 1:01-cv-12257-PBS Document 512-3 Filed 09/15/03 Page 34 of 34

CERTIFICATE OF SERVICE

Thereby certify that I, Edward Notargiacomo, an atlomey, caused true and correct copies
of the foregoing Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Consolidated
Motion to Dismiss the Amended Master Consolidated Class Action Complaint (Redacted) to be

served on all counsel of record electronically, pursuant to Section D of Case Management Order

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